8:11-cr-00306-JFB-FG3        Doc # 113     Filed: 10/07/16   Page 1 of 2 - Page ID # 279




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )              8:11CR306
              vs.                         )
                                          )                  ORDER
JUSTIN WARNACA,                           )
                                          )
                     Defendant.           )

       Defendant Justin Warnaca (Warnaca) appeared before the court on October 7,
2016, on the Petition for Warrant or Summons for Offender Under Supervision (Petition)
(Filing No. 104). Warnaca was represented by Assistant Federal Public Defender Michael
J. Hansen and the United States was represented by Assistant U.S. Attorney Kimberly C.
Bunjer. Through his counsel, Warnaca waived his right to a probable cause hearing on the
Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find the Petition alleges probable cause
and that Warnaca should be held to answer for a final dispositional hearing before Senior
Judge Joseph F. Bataillon.
       The government moved for detention. Warnaca declined to present any evidence
or request a detention hearing. Since it is Warnaca’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence he is neither a flight risk nor a danger to the
community, the court finds Warnaca has failed to carry his burden and Warnaca should be
detained pending a dispositional hearing before Judge Bataillon.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Senior Judge Joseph F.
Bataillon in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
18th Plaza, Omaha, Nebraska, at 9:30 a.m. on November 10, 2016. Defendant must be
present in person.
       2.     Defendant Justin Warnaca is committed to the custody of the Attorney
General or her designated representative for confinement in a correctional facility;
       3.     Defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
8:11-cr-00306-JFB-FG3       Doc # 113     Filed: 10/07/16    Page 2 of 2 - Page ID # 280




      4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.


      DATED this 7th day of October, 2016.

                                                BY THE COURT:
                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
